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                         United States District Court
                             SOUTHERN DISTRICT OF CALIFORNIA

Greenbroz, Inc., a Nevada corporation
                                              Plaintiff
                                         v.                   Civil Action No. 16-cv-02946-CAB-BLM
Laeger Built, LLC, an Oregon limited liability
company dba Trimbros.com; Jeffery Laeger, an
individual; Does 1-10
                                            Defendant
Laeger Built, LLC, an Oregon limited liability                  JUDGMENT IN A CIVIL CASE
company
                                    Counter Claimant
                                          v.
Greenbroz, Inc., a Nevada corporation
                                    Counter Defendant
 Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
 or heard and a decision has been rendered.

 IT IS HEREBY ORDERED AND ADJUDGED:
 The parties’ Joint Motion for Entry of an Agreed Judgment is Hereby Granted. The case has been
 settled in accordance with the terms of the Agreed Judgment. Further, as set forth in the settlement “all
 claims and counterclaims not disposed of in the Agreed Judgment are dismissed with prejudice.”
 Accordingly, the Clerk of the Court shall Close the case. It is So Ordered.




 Date:          5/1/18                                           CLERK OF COURT
                                                                 JOHN MORRILL, Clerk of Court
                                                                 By: s/ J. Gutierrez
                                                                                      J. Gutierrez, Deputy
